
*266OPINION.
Arundell :
Section 402(c) of the Revenue Act of 1921 provides, in part, that:
Any transfer of a material part of his property in the nature of a final disposition or distribution thereof, made by the decedent within two years prior to his death without such a consideration, shall, unless shown to the contrary, be deemed to have been made in contemplation of death within the meaning of this title.
Other than admissions made by the respondent in his answer of formal matters alleged in the petition, we have only the deposition taken by the respondent of the physician who attended the decedent from 1914 until his death and the estate-tax return with its accompanying schedules.
This evidence aids the statutory presumption and petitioners offered no evidence to overcome it. See C. D. Lehman, 6 B. T. A. 791, and Second National Bank of New Haven, 12 B. T. A. 1066.
While no issue was raised by the pleadings as to the value of the property transferred, at the hearing counsel for the respondent conceded that the value of the real estate should be reduced by the amount of the mortgages against the properties. This question is a matter for adjustment between the parties under their recomputation of the deficiency for decision under Rule 50.

Judgment will he entered u/nder Rule 50.

